






	

		







In The

Court of Appeals

For The

First District of Texas

_______________


NO. 01-00-01421-CR 

_______________


ROBERT LYNN HEBERT, Appellant

V.

THE STATE OF TEXAS, Appellee

                                                                                                                                           
On Appeal from the 344th District Court

Chambers County, Texas

Trial Court Cause No. 11165

                                                                                                                                            


O P I N I O N


	Appellant pled guilty to the charge of unlawful possession with intent to
deliver more than four grams and less 400 grams of a controlled substance.  The court
found appellant guilty and assessed his punishment at 14 years confinement. 

	Counsel has filed a brief stating his opinion that the appeal is frivolous.  The
brief meets the minimum requirements of Anders v. California, 386 U.S. 738, 744,
87 S. Ct. 1396, 1400 (1967), by presenting a professional evaluation of the record and
stating why there are no arguable grounds of error on appeal.  See Gainous v. State,
436 S.W.2d 137, 138 (Tex. Crim. App. 1969).

	Counsel certifies that the brief was delivered to appellant, and he was advised
he had a right to file a pro se response.  Thirty days have passed, and appellant has
not filed a pro se response. 

	We have reviewed the record and counsel's brief.  We hold there are no
arguable grounds for appeal.

	We affirm the judgment.

	We grant appellant's counsel's motion to withdraw.  See Stephens v. State, 35
S.W.3d 770, 771 (Tex. App.--Houston [1st Dist.] 2000, no pet.).  Counsel still has
a duty to inform appellant of the result of this appeal and also to inform appellant that
he may, on his own, pursue discretionary review in the Court of Criminal Appeals. 
See Ex parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App. 1997).

PER CURIAM

Panel consists of Justices Hedges, Jennings, and Keyes.

Do not publish.  Tex. R. App. P. 47.



